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         Exhibit KK
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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL LEAGUE PLAYERS’
CONCUSSION INJURY LITIGATION

                                                                 No. 2:12-md-02323-AB
Kevin Turner and Shawn Wooden, on behalf of themselves
and others similarly situated,                                   MDL No. 2323
                                   Plaintiffs,                   Hon. Anita B. Brody
                             v.

National Football League and NFL Properties LLC,                 CIVIL ACTION NO: 2:14-cv-
successor-in-interest to NFL Properties, Inc.,                   00029-AB
                                   Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS

      DECLARATION OF CLAIMS ADMINISTRATOR, ORRAN L. BROWN, SR.

       ORRAN L. BROWN, SR. declares, pursuant to 28 U.S.C. § 1746, based upon his

personal knowledge, information and belief, the following:

       1.      I am an adult over twenty-one years of age. I am the Chairman and a founding

partner of BrownGreer PLC (“BrownGreer”), located at 250 Rocketts Way, Richmond, Virginia

23231. I have personal knowledge of the facts set forth herein and if called and sworn as a

witness, I could and would testify competently to all matters contained herein.

       2.      In connection with the class action settlement (“Settlement”) in this case, the

Court appointed BrownGreer as the Claims Administrator, tasked with, inter alia, administering

the registration and claims processes and providing supplemental notices to the Class Members

as to various administrative matters and deadlines, as directed by the Court and the Settling

Parties. As part of my role, I am responsible for managing registrations by Class Members.
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       3.         The atttached Exhiibit reflects daily
                                                  d     registrrations, as off April 3, 2017.



I declare under penalty of perjurry that the fo
                                              oregoing is ttrue and corrrect. Execuuted this 10thh day

of April, 2017.



                                                  Orran L. Brrown, Sr.




                                                  -2-
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                            Registrations by Day

                      Retired NFL    Representative   Derivative
           Date                                                       Total
                     Football Player   Claimant       Claimant
 1.       2/6/2017       1,026            17              91          1,134
 2.       2/7/2017        593             25              56           674
 3.       2/8/2017        877             27              98          1,002
 4.       2/9/2017        434             16              56           506
 5.      2/10/2017        977             38              63          1,078
 6.      2/11/2017         96              1              29           126
 7.      2/12/2017        318              2              17           337
 8.      2/13/2017        413             12              61           486
 9.      2/14/2017        387             12             109           508
10.      2/15/2017        485             13              34           532
11.      2/16/2017        462             11              81           554
12.      2/17/2017        300              3              37           340
13.      2/18/2017         76              4              13            93
14.      2/19/2017         62              1               8            71
15.      2/20/2017        154             10              12           176
16.      2/21/2017        340             12              38           390
17.      2/22/2017        196             12              33           241
18.      2/23/2017         93             18              16           127
19.      2/24/2017        228              7              35           270
20.      2/25/2017         32              0               6            38
21.      2/26/2017         31              0               6            37
22.      2/27/2017         73              7              20           100
23.      2/28/2017        101              5              12           118
24.       3/1/2017        111              8              13           132
25.       3/2/2017        134              5              26           165
26.       3/3/2017         87              3              16           106
27.       3/4/2017         21              1               4            26
28.       3/5/2017         19              0               3            22
29.       3/6/2017        218             18              15           251
30.       3/7/2017        109              9              29           147
31.       3/8/2017        105              9              19           133
32.       3/9/2017        128              7              14           149
33.      3/10/2017        125              5              30           160
34.      3/11/2017         63              3              24            90
35.      3/12/2017         61              1              11            73
36.      3/13/2017        139             12              30           181
37.      3/14/2017         97              8              25           130
38.      3/15/2017        157              5              25           187
39.      3/16/2017        236              0             172           408
40.      3/17/2017         73              8              10            91
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41.      3/18/2017         21               2               4          27
42.      3/19/2017         26               0              11          37
43.      3/20/2017         79               4              23         106
44.      3/21/2017        124              10              36         170
45.      3/22/2017         96              11              14         121
46.      3/23/2017         68               6              12          86
47.      3/24/2017        139               4              29         172
48.      3/25/2017         34               4               5          43
49.      3/26/2017         68               3              12          83
50.      3/27/2017        126               7              13         146
51.      3/28/2017        178               5              10         193
52.      3/29/2017         70               9              15          94
53.      3/30/2017         56               9              10          75
54.      3/31/2017         53              10               7          70
55.       4/1/2017         13               2               7          22
56.       4/2/2017         17               0               8          25
57.      TOTALS          10,805           441            1,613       12,859
